      Case 1:16-cv-06704-PAE-KNF Document 156 Filed 01/14/21 Page 1 of 2


                                                                     Sara E. Margolis
                                                                     MoloLamken LLP
                                                                     430 Park Avenue
                                                                     New York, NY 10022
                                                                     T: 212.607.8172
                                                                     F: 212.607.8161
                                                                     smargolis@mololamken.com
                                                                     www.mololamken.com


January 13, 2021

BY CM/ECF AND EMAIL

Hon. Paul A. Engelmayer
United States District Court
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

       Re:    Ross v. Willis et al., No. 16 Civ. 6704: Request to File Materials Under Seal

Dear Judge Engelmayer:

       We represent Antoine Ross pro bono. We write to respectfully request permission to
temporarily file under seal certain portions of Mr. Ross’s papers due tomorrow in opposition to
Defendants’ summary-judgment motions pending Defendants’ decision whether to move to seal
those materials permanently.

        Mr. Ross makes this request solely to comply with the protective order entered in this
case before his current pro bono counsel appeared. See Dkt. 104. Under the terms of that order,
“[a]ny party seeking to file papers with the Court that incorporate Confidential Materials or
reveal the contents thereof shall first make an application to the Court for permission to file
under seal the specific portions of those papers disclosing Confidential Materials and shall
indicate whether any other party objects to that request.” Dkt. 104 § 8. Further, the protective
order states that “[n]o materials shall be filed under seal unless the Court has issued an order
approving the filing.” Id.

        Mr. Ross’s papers in opposition to Defendants’ summary-judgment motions are due
tomorrow, January 14, 2021. Dkt. 143 at 1. In those papers, Mr. Ross intends to cite and quote
from materials that Defendants have designated as “Confidential Materials” under the protective
order, including DOC investigation materials, Mr. Ross’s medical records, Defendants’ disci-
plinary records, and deposition testimony from DOC’s Rule 30(b)(6) witness. See Ex. A
(correspondence between counsel listing confidential materials). Mr. Ross does not wish to
maintain these documents under seal permanently and does not believe that they satisfy the
Second Circuit’s standards for sealing. See Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110,
121 (2d Cir. 2006). Pursuant to Section 8 of the protective order, Mr. Ross thus requested that
       Case 1:16-cv-06704-PAE-KNF Document 156 Filed 01/14/21 Page 2 of 2




      Hon. Paul A. Engelmayer                                                               January 13, 2021

Defendants withdraw their designation of these materials as “Confidential Materials.” See Ex.
A. However, Defendants have requested until January 22, 2021 to review those materials and
decide whether to seek their permanent sealing.1 See id.

        As a result, Mr. Ross respectfully requests that the Court grant permission to file the
affected materials under seal until January 22, 2021 so that Defendants can decide whether to
move to seal those materials permanently. Mr. Ross reserves all rights to oppose permanent
sealing of these materials if Defendants seek that relief. All Defendants have been consulted on,
and agree to, this request.

        We thank the Court for its consideration.


                                                            Respectfully submitted,

                                                            /s/ Sara E. Margolis
                                                            Sara E. Margolis




    Granted. Plaintiff may file these materials under seal. By January
    27, 2021, if defendants have not withdrawn their confidential
    designations, the parties are to submit a joint letter explaining each
    party's position as to whether the affected materials should remain
    under seal.

    SO ORDERED.
                       PaJA.�
                  __________________________________
                        PAUL A. ENGELMAYER
                        United States District Judge

    January 14, 2021




1
  After Defendants requested until next week to decide whether to de-designate the materials, Mr. Ross asked
Defendants to withdraw the confidential designation as to at least his own medical records. Defendants agreed to
consider that request and may withdraw the designation as to those materials by tomorrow morning.


                                                     -2-
